              Case 2:07-cr-00441-KJM Document 98 Filed 01/12/10 Page 1 of 2


 1 Tim Warriner (SB#166128)
   Attorney at Law
 2 813 6th St., Suite 450
   Sacramento, CA 95814
 3 (916) 443-7141
   FAX: (916) 441-0970
 4
   Attorney for Defendant,
 5 RICARDO DIAZ GALINDO
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )               No. CR S 07 0441 GEB
10                                       )
                 Plaintiff,              )               STIPULATION AND PROPOSED ORDER
11                                       )               CONTINUING JUDGMENT AND
           v.                            )               SENTENCE DATE
12                                       )
     RICARDO DIAZ GALINDO, et al.,       )
13                                       )
                                         )
14               Defendants.             )
     ____________________________________)
15
            IT IS HEREBY STIPULATED by and between Assistant United States Attorney Heiko
16
     Coppola, for the government, and Tim Warriner, for Mr. Galindo, that the present sentencing
17
     date of February 12, 2010 be continued to March 12, 2010. The parties hereby adopt the
18
     following schedule concerning the presentence investigation report:
19
20      Informal Objections Due:          February 5, 2010
21      Presentence Investigation
        Report to Court:                  February 12, 2010
22
        Formal objections to
23      Presentence Investigation
        Report due:                       February 19, 2010
24
        Judgment and sentence
25      Date:                             March 12, 2010
26
27
28                                                  1
           Case 2:07-cr-00441-KJM Document 98 Filed 01/12/10 Page 2 of 2


 1   DATED: January 8, 2010            /s/ Tim Warriner
                                       Attorney for defendant,
 2                                     RICARDO DIAZ GALINDO
 3
     DATED: January 8, 2010            /s/ Heiko Coppola
 4                                     ASSISTANT UNITED STATES ATTORNEY,
                                       FOR THE GOVERNMENT
 5
 6                                            ORDER
 7      GOOD CAUSE APPEARING, it is hereby ordered that judgment and sentencing be
 8   continued to March 12, 2010, at 9:00 a.m. The court adopts the schedule concerning the
 9   presentence report as set forth above.
10
.    1/11/10
11
12
13                                     GARLAND E. BURRELL, JR.
                                       United States District Judge
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                               2
